                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

 UNITED STATES OF AMERICA,                      )
                                                )
        Plaintiff,                              )
                                                )
 v.                                             )   NO. 3:21-cr-00264
                                                )
 BRIAN KELSEY                                   )
 JOSHUA SMITH                                   )
                                                )
        Defendant.                              )


                                           ORDER

       Both Defendants and all counsel shall appear before this Court on July 27, 2023, at 9:00

a.m.

       IT IS SO ORDERED.



                                            ____________________________________
                                            WAVERLY D. CRENSHAW, JR.
                                            CHIEF UNITED STATES DISTRICT JUDGE




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